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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK


 SYLVIA SANTOS,                                              Civil Action No. 6:23-cv-574 (BKS/ML)

                         Plaintiff,                          COMPLAINT FOR DECLARATORY
                                                             AND PROSPECTIVE INJUNCTIVE
         v.                                                  RELIEF

 GLORY HAUS, INC.,

                         Defendant.


  COMPLAINT FOR DECLARATORY AND PROSPECTIVE INJUNCTIVE RELIEF

        SYLVIA SANTOS (“Plaintiff”), by and through undersigned counsel, seeks a permanent

injunction requiring a change in GLORY HAUS, INC.’s (“GLORY HAUS”, and “Defendant”)

corporate policies to cause its digital properties to become, and remain, accessible to individuals

with visual disabilities. In support thereof, Plaintiff respectfully asserts as follows:

                                         INTRODUCTION

        1.      This action arises from Defendant’s failure to make its digital properties accessible

to legally blind individuals, which violates the effective communication and equal access

requirements of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-

12189, N.Y. Exec. Law § 296, et seq., and the laws of New York.

        2.      It is estimated that 2.3 percent of the American population lives with some sort of

visual disability. See Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the

American Community Survey (ACS). Ithaca, NY: Cornell University Yang-Tan Institute (YTI),

available at www.disabilitystatistics.org (last accessed May 10, 2023).

        3.      For this significant portion of Americans, accessing digital platforms, mobile

applications, and other information via their smartphones has become critical, especially during


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the current COVID-19 pandemic. Indeed, this discrimination is particularly acute during the

pandemic. According to the Centers for Disease Control and Prevention (“CDC”), Americans

living with disabilities are at higher risk for severe illness from COVID-19 and, therefore, are

recommended to shelter in place throughout the duration of the pandemic.1 This underscores the

importance of access to online retailers, such as Defendant, for this especially vulnerable

population.

       4.     During these challenging times, disabled individuals risk losing their jobs,

experiencing difficulty acquiring goods and services like health care, and being deprived of the

information they need to stay safe. See Slate, The Inaccessible Internet 2020, available at

https://slate.com/technology/2020/05/disabled-digital-accessibility-pandemic.html (last accessed

May 10, 2023).

       5.     At the same time, the share of Americans who own smartphones has climbed from

just 35% in 2011 to 81% in 2019—amounting to more than 265 million people in the United States.

See   U.S.    Census    Bureau,    U.S    and       World   Population    Clock,    available    at

https://www.census.gov/popclock/ (last accessed May 10, 2023) (U.S. population on June 12, 2019

was 328.1 million).

       6.     In this climate, it is especially important to consider factors that can facilitate or

impede technology adoption and use by people with disabilities. National Council on Disability,




1
  See Centers for Disease Control and Prevention Digital Platform, Coronavirus Disease 2019
(2019), available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fspecific-groups%2Fhigh-risk-complications.html (last accessed May 10, 2023) (“Based
on currently available information and clinical expertise, older adults and people of any age who
have serious underlying medical conditions might be at higher risk for severe illness from
COVID-19.”).
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National      Disability   Policy:       A    Progress   Report     (Oct.     7,    2016),   available   at

https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last accessed May 10,

2023).

         7.      When it is properly formatted, digital content is universally accessible to everyone.

But when it is not, ineffective communication results. In those situations, legally blind individuals

must unnecessarily expend additional time and effort to overcome communication barriers sighted

users do not confront. These barriers may require the assistance of third parties or, in some cases,

may deny outright access to the online service. See Kasey Wehrum, Inc., Your Digital Platform is

Scaring       Customers    Away.     5       Easy Ways   to   Fix    It     (Jan.   2014),   available   at

https://www.inc.com/magazine/201312/kasey-wehrum/how-to-get-online-customers-to-

complete-purchase.html (last accessed May 10, 2023).

         8.      Screen access “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

         The screen reading software uses auditory cues to allow a visually impaired user to
         effectively use digital platforms. For example, when using the visual internet, a
         seeing user learns that a link may be “clicked,” which will bring his to another
         webpage, through visual cues, such as a change in the color of the text (often text
         is turned from black to blue). When the sighted user's cursor hovers over the link,
         it changes from an arrow symbol to a hand.

         The screen reading software uses auditory—rather than visual—cues to relay this
         same information. When a sight impaired individual reaches a link that may be
         “clicked on,” the software reads the link to the user, and after reading the text of
         the link says the word “clickable.”…Through a series of auditory cues read aloud
         by the screen reader, the visually impaired user can navigate a digital platform by
         listening and responding with his keyboard.




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Id. at *6-7.2

        9.      Unfortunately, here Defendant fails to communicate effectively with Plaintiff

because its digital properties are not properly formatted to allow legally blind users such as

Plaintiff to access its digital content. Accordingly, legally blind customers such as Plaintiff are

deprived from accessing information about Defendant’s products and using its online services, all

of which are readily available to sighted customers.

        10.     The United States Department of Justice Civil Rights Division has recently

provided “Guidance on Web Accessibility and the ADA.”3 It states in part, “the Department has

consistently taken the position that the ADA’s requirements apply to all the goods, services,

privileges, or activities offered by public accommodations, including those offered on the web.”

        11.     This lawsuit is aimed at providing legally blind users like Plaintiff a full and equal

experience.

                                                 PARTIES

        12.     Plaintiff Santos is, and at all times relevant hereto has been, legally blind and is

therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101et seq., N.Y. Exec. Law § 296, et seq., and

the laws of New York. In 2007, Plaintiff received her associate degree from Sullivan County

Community College in Travel & Tourism. In 2010, she received her Bachelor of Science Degree

from Buffalo State College in Hospitality & Administration. She currently works as a Call Center

Customer Service Representative with Central Association for the Blind and Visually Impaired



2
        See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed May 10, 2023) (discussing screen
readers and how they work).
3
    See ADA.Gov, Guidance on Web Accessibility and the ADA, available at
https://beta.ada.gov/web-guidance/ (last accessed May 10, 2023) (“DOJ Guidance”).
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(CABVI) in Utica, New York. She uses screen readers, including JAWS and her iPhone8+ with

VoiceOver technology, to navigate the internet. Plaintiff is, and at all times relevant hereto has

been, a resident of Oneida County, New York.

       13.     Defendant is a corporation organized under the laws of the State of Georgia, with a

principal place of business located at 1045 Cobb Parkway North, Marietta, Georgia 30062.

Defendant is a leader in the sale and distribution of home décor, textiles, glassware, and other

unique gifts and apparel.

       14.     Consumers may purchase Defendant’s products and access other brand-related

content and services at https://www.gloryhaus.com/ (“Digital Platform”), the Digital Platform

Defendant owns, operates, and controls.

       15.     In addition to researching and purchasing Defendant’s products and services from

the comfort and convenience of their homes, consumers may also use Defendant’s Digital Platform

to contact customer service by embedded contact us form, phone and email, sign up to receive

product updates, product news, and special promotions, review important legal notices like

Defendant’s Privacy Policy and Terms and Conditions of Use, and more.4

       16.     Defendant is responsible for the policies, practices, and procedures concerning the

Digital Platform’s development and maintenance.

       17.     Because Defendant’s Digital Platform is not and has never been fully accessible,

and because upon information and belief Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause its digital properties to become and

remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks prospective injunctive

relief requiring Defendant to:



4
       See, e.g., Defendant’s Home Page, available at https://www.gloryhaus.com/.
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  a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
     Consultant”) who shall assist in improving the accessibility of its Digital Platform,
     including all third-party content and plug-ins, so the goods and services on the
     Digital Platform may be equally accessed and enjoyed by individuals with vision
     related disabilities;

  b) Work with the Web Accessibility Consultant to ensure all employees involved in
     Digital Platform and content development be given web accessibility training on a
     biennial basis, including onsite training to create accessible content at the design
     and development stages;

  c) Work with the Web Accessibility Consultant to perform an automated accessibility
     audit on a periodic basis to evaluate whether Defendant’s Digital Platform may be
     equally accessed and enjoyed by individuals with vision related disabilities on an
     ongoing basis;

  d) Work with the Web Accessibility Consultant to perform end-user
     accessibility/usability testing on at least a quarterly basis with said testing to be
     performed by humans who are blind or have low vision, or who have training and
     experience in the manner in which persons who are blind use a screen reader to
     navigate, browse, and conduct business on Digital Platforms, in addition to the
     testing, if applicable, that is performed using semi-automated tools;

  e) Incorporate all of the Web Accessibility Consultant’s recommendations within
     sixty (60) days of receiving the recommendations;

  f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy
     that will be posted on its Digital Platform, along with an e-mail address, instant
     messenger, and toll-free phone number to report accessibility-related problems;

  g) Directly link from the footer on each page of its Digital Platform, a statement that
     indicates that Defendant is making efforts to maintain and increase the accessibility
     of its Digital Platform to ensure that persons with disabilities have full and equal
     enjoyment of the goods, services, facilities, privileges, advantages, and
     accommodations of the Defendant through the Digital Platform;

  h) Accompany the public policy statement with an accessible means of submitting
     accessibility questions and problems, including an accessible form to submit
     feedback or an email address to contact representatives knowledgeable about the
     Web Accessibility Policy;

  i) Provide a notice, prominently and directly linked from the footer on each page of
     its Digital Platform, soliciting feedback from visitors to the Digital Platform on how
     the accessibility of the Digital Platform can be improved. The link shall provide a
     method to provide feedback, including an accessible form to submit feedback or an
     email address to contact representatives knowledgeable about the Web
     Accessibility Policy;


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             j) Provide a copy of the Web Accessibility Policy to all web content personnel,
                contractors responsible for web content, and Client Service Operations call center
                agents (“CSO Personnel”) for the Digital Platform;

             k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
                users with disabilities who encounter difficulties using the Digital Platform.
                Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
                such users with disabilities within CSO published hours of operation. Defendant
                shall establish procedures for promptly directing requests for assistance to such
                personnel including notifying the public that customer assistance is available to
                users with disabilities and describing the process to obtain that assistance;

             l) Modify existing bug fix policies, practices, and procedures to include the
                elimination of bugs that cause the Digital Platform to be inaccessible to users of
                screen reader technology;

             m) Plaintiff, her counsel, and their experts monitor the Digital Platform for up to two
                years after the Mutually Agreed Upon Consultant validates the Digital Platform is
                free of accessibility errors/violations to ensure Defendant has adopted and
                implemented adequate accessibility policies. To this end, Plaintiff, through her
                counsel and their experts, shall be entitled to consult with the Web Accessibility
                Consultant at their discretion, and to review any written material, including but not
                limited to any recommendations the Digital Platform Accessibility Consultant
                provides Defendant.

       18.      Digital platforms have features and content that are modified on a daily, and in

some instances an hourly, basis, and a one time “fix” to an inaccessible digital platform will not

cause the digital platform to remain accessible without a corresponding change in corporate

policies related to those web-based technologies. To evaluate whether an inaccessible digital

platform has been rendered accessible, and whether corporate policies related to web-based

technologies have been changed in a meaningful manner that will cause the digital platform to

remain accessible, the digital platform must be reviewed on a periodic basis using both automated

accessibility screening tools and end user testing by disabled individuals.

                                  JURISDICTION AND VENUE

       19.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.


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       20.     The Court has personal jurisdiction over Defendant pursuant to New York’s long-

arm statute, N.Y. C.P.L.R. § 302. N.Y. C.P.L.R. § 302(a)(1) is a single-act statute which requires

just a single transaction in New York State to confer jurisdiction over a defendant for a claim

arising from that transaction. See Ehrenfeld v. Bin Mahfouz, 9 N.Y.3d 501, 508 (2007); Fischbarg

v. Doucet, 9 N.Y.3d 375, 380 (2007); Licci Ex Rel. Licci v. Lebanese Canadian Bank, SAL, 673

F.3d 50, 61 (2d Cir. 2012); Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 166 (2d

Cir. 2005); Kreutter v. McFadden Oil Corp., 71 N.Y.2d 460, 467, 527 N.Y.S.2d 195, 522 N.E.2d

40 (1988).

       21.     Defendant participates in the State’s economic life by performing business over the

Internet. Through its Digital Platform, Defendant entered into contracts for the sale of its products

and services with residents of New York. These online sales contracts involve, and indeed require,

Defendant’s knowing and repeated transmission of computer files over the Internet. See Reed v. 1-

800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y. 2018) (exercising personal jurisdiction

over forum plaintiff’s digital platform accessibility claims against out-of-forum digital platform

operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y. 2017) (same).

       22.     Plaintiff was injured when she attempted to access Defendant’s Digital Platform

from her home in this District in an effort to shop for Defendant’s products but encountered barriers

that denied her full and equal access to Defendant’s online goods, content, and services. Plaintiff

attempted to purchase Mother’s Day gifts from Defendant, specifically the “Holy Privilege Mother

Mug,” “Mother Forever My Friend Pillow,” and “Ain’t No Mama Like the One I Got” tea towel.

Unfortunately, the accessibility barriers present on the Digital Platform prevented her from being

able to complete her transaction.




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        23.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Plaintiff’s claim

occurred.

                           FACTS APPLICABLE TO ALL CLAIMS

        24.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, digital platform developers and web content developers often

implement digital technologies without regard to whether those technologies can be accessed by

individuals with disabilities. This is notwithstanding the fact that accessible technology is both

readily available and cost effective.

                             DEFENDANT’S ONLINE CONTENT

        25.     Defendant’s Digital Platform allows consumers to research and participate in

Defendant’s services and products from the comfort and convenience of their own homes.

        26.     The Digital Platform also enables consumers to contact customer service by

embedded contact us form, phone and email, sign up to receive product updates, product news,

and special promotions, review important legal notices like Defendant’s Privacy Policy and Terms

and Conditions of Use, and more.

        27.     Consumers may use the Digital Platform to connect with Defendant on social

media, using sites like Facebook, Twitter, Pinterest, and Instagram.

                                        HARM TO PLAINTIFF
        28.     Plaintiff attempted to access the Digital Platform from her home in Oneida County,

New York to purchase gifts for Mother’s Day. Unfortunately, because of Defendant’s failure to

build the Digital Platform in a manner that is compatible with screen access programs, Plaintiff is

unable to understand, and thus is denied the benefit of, much of the content and services she wishes

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to access on the Digital Platform. The following are illustrative (but, importantly, not exhaustive)

examples of a few of the accessibility barriers observed on the Digital Platform:

               a.      The homepage contains images with text that is not properly announced to

the screen-reader user (hereinafter “SRU). For example, the “Buy 3 mugs, get 1 free” image at the

top of the homepage contains text which displays the dates and times for which the promotion is

valid and how to obtain the special offer, yet none of this text is properly announced to the SRU.

Instead, the SRU hears an announcement of “mug link.” Moreover, the Glory Haus phone number

is only available as an image, which is announced to the SRU as “Glory Haus link image.”

Therefore, the SRU is unaware of its presence.




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               b.     The shipping information table is only announced to the SRU as text, with

each specific column label and number incorrectly announced so that the SRU is unable to

differentiate between them. Each cell in the shipping information table is also only announced to

the SRU as text without reference to the header or row information. For example, the standard

Alaskan shipping rate for an order of $90 to $124.99 is only announced to the SRU as “$26.95,”

and the standard shipping rate for an order of $50 to $64.99 is only announced to the SRU as

“$35.95.” Therefore, the SRU will be unable to understand the relationship of these prices.




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               c.     The homepage contains multiple unlabeled links. For example, the

shopping cart is only announced to the SRU as “? Zero link.” Additionally, there are six images at

the bottom of the homepage that are announced to the SRU as “link image,” and some of these

images contain text that is not properly announced. The SRU must swipe through another five

images, which are also unlabeled, before reaching the social media and email links which are each

announced only as “? link.”

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       29.     These barriers, and others, deny Plaintiff full and equal access to all of the services

the Digital Platform offers, and now deter her from attempting to use the Digital Platform to buy

Defendant’s goods and services. Still, Plaintiff intends to attempt to access the Digital Platform in

the future to purchase the products and services the Digital Platform offers, or to test the Digital

Platform for compliance with the ADA.

       30.     If the Digital Platform was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiff could independently research and purchase Defendant’s products and

access its other online content and services.




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       31.     The law requires that Defendant reasonably accommodate Plaintiff’s disabilities by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

       32.     Plaintiff has been, and in the absence of an injunction will continue to be, injured

by Defendant’s failure to provide its online content and services in a manner that is compatible

with screen-reader technology.

                                 SUBSTANTIVE VIOLATIONS

                                 FIRST CAUSE OF ACTION

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

        33.    The assertions contained in the previous paragraphs are incorporated by reference.

        34.    Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation.

        35.    Defendant is bound by the regulations implementing Title III of the ADA, which

require that places of public accommodation ensure effective communication to individuals with

disabilities. 28 C.F.R. § 303(c). See also DOJ Guidance (stating “[s]ince 1996, the Department of

Justice has consistently taken the position that the ADA applies to web content.”)

        36.    Plaintiff is legally blind and therefore an individual with a disability under the

ADA.

        37.    Defendant is a place of public accommodation under the ADA because it is a “sales

or rental establishment” and/or “other service establishment.” 42 U.S.C. § 12181(7)(E), (F).

        38.    Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation. 42 U.S.C. § 12182; 28 C.F.R. §36.201.

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        39.     Defendant owns, operates, or maintains the Digital Platform.

        40.     The Digital Platform is a service, facility, privilege, advantage, or accommodation

of Defendant.

        41.     Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation. See also DOJ Guidance (explaining “[b]usinesses open to the

public must take steps to provide appropriate communication aids and services (often called

“auxiliary aids and services”) where necessary to make sure they effectively communicate with

individuals with disabilities.”)

        42.     Specifically, “[e]ven though businesses and state and local governments have

flexibility in how they comply with the ADA’s general requirements of nondiscrimination and

effective communication, they still must ensure that the programs, services, and goods that they

provide to the public—including those provided online—are accessible to people with

disabilities.” DOJ Guidance.

                                    SECOND CAUSE OF ACTION

                       Violation of New York State Human Rights Law,

                                   Exec. Law, Article 15 § 290, et seq.


       43.      The assertions contained in the previous paragraphs are incorporated by reference.

       44.      Defendant’s Digital Platform is a place of public accommodation within the

definition of Article 15 of New York Executive Law, § 292. See Andrews v. Blick Art Materials,

Inc., 268 F. Supp. 3d 381, 398-99 (E.D.N.Y. 2017) (concluding a website is a public

accommodation under New York State’s Human Rights Law.)




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        45.     In the broadest terms, New York’s Human Rights Law prohibits discrimination on

the basis of a disability in the full and equal enjoyment of goods and services of any place of public

accommodation. Since Defendant does not provide Plaintiff with full and equal access to its Digital

Platform, it has violated Article 15.

        46.     More specifically, N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place of public accommodation … because of the …

disability of any person, directly or indirectly, to refuse, withhold from or deny to such person any

of the accommodations, advantages, facilities or privileges thereof.”

        47.     Defendant is subject to New York Human Rights Law because it owns and operates

the Digital Platform. Defendant is a person within the meaning of N.Y. Exec. Law § 292(1).

        48.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove

access barriers to its Digital Platform, causing its Digital Platform to be inaccessible to the visually

impaired. This inaccessibility denies visually impaired consumers full and equal access to the

facilities, goods and services that Defendant makes available to the non-disabled public.

        49.     Specifically, under N.Y. Exec. Law § 296(2)(c)(I), unlawful discriminatory

practice includes, “a refusal to make reasonable modifications in policies, practices, or procedures,

when such modifications are necessary to afford facilities, privileges, advantages or

accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations.”

        50.     In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a



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disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature of

the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

       51.      Making its online goods, content, and services compatible with screen-readers does

not change the content of Defendant’s Digital Platform, but rather enables individuals with visual

disabilities to access the Digital Platform Defendant already provides. This will not place an undue

burden on Defendant.

       52.      Defendant’s actions constitute willful intentional discrimination against Plaintiff on

the basis of a disability in violation of the New York State Human Rights Law, N.Y. Exc. Law §

296(2) in that Defendant has:

                a.     constructed and maintained a Digital Platform that is inaccessible to

       Plaintiff, as a visually-impaired New York resident, with knowledge of the discrimination;

       and/or

                b.     constructed and maintained a Digital Platform that is not sufficiently

       intuitive and/or obvious such that it is inaccessible to Plaintiff, as a visually-impaired New

       York resident; and/or

                c.     failed to take action to correct these access barriers in the face of substantial

       harm and discrimination to Plaintiff, as a visually-impaired New York resident.

       53.      Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       54.      As such, Defendant discriminates and will continue in the future to discriminate

against Plaintiff on the basis of disability in the full and equal enjoyment of the goods, services,



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facilities,   privileges,    advantages,      accommodations,         and/or     opportunities   of

https://www.gloryhaus.com/ under § 296(2), et seq., and/or its implementing regulations. Unless

the Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff will

continue to suffer irreparable harm.

        55.    The actions of Defendant were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes her right to injunctive relief to remedy the

discrimination.

        56.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines pursuant to N.Y. Exc. Law § 297(4)(c), et seq., for each and every offense.

        57.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

        58.    Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth

and incorporated therein Plaintiff prays for judgment as set forth below.

                                 THIRD CAUSE OF ACTION

                        Violation of New York State Civil Rights Law,

                      NY CLS Civ R, Article 4 (CLS Civ R § 40, et seq.)

        59.    The assertions contained in the previous paragraphs are incorporated by reference.

        60.    Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil

Rights Law § 41.

        61.    N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this

state shall be entitled to the full and equal accommodations, advantages, facilities and privileges

of any places of public accommodations, resort or amusement, subject only to the conditions and

limitations established by law and applicable alike to all persons. No persons, being the owner,

lessee, proprietor, manager, superintendent, agent, or employee of any such place shall directly or



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indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

facilities and privileges thereof …”

        62.    N.Y. Civil Rights Law § 40-c(2) provides that “no person because of … disability,

as such term is defined in section two hundred ninety-two of executive law, be subjected to any

discrimination in his or her civil rights, or to any harassment, as defined in section 240.25 of the

penal law, in the exercise thereof, by any other person or by any firm, corporation or institution,

or by the state or any agency or subdivision.”

        63.    Defendant’s Digital Platform is a place of public accommodation within the

definition of N.Y. Civil Rights Law § 40-c(2). See Andrews v. Blick Art Materials, Inc., 268 F.

Supp. 3d 381, 398-99 (E.D.N.Y. 2017) (concluding a website is a public accommodation under

New York State’s Human Rights Law.)

        64.    Defendant is subject to N.Y. Civil Rights Law because it owns and operates

https://www.gloryhaus.com/. Defendant is a person within the meaning of N.Y. Civil Law § 40-

c(2).

        65.    Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or

remove access barriers to its Digital Platform, causing its Digital Platform and the services

integrated with the Digital Platform to be inaccessible to the visually-impaired. This inaccessibility

denies visually impaired consumers full and equal access to the facilities, goods and services that

Defendant makes available to the non-disabled public.

        66.    Making its online goods, content, and services compatible with screen readers does

not change the content of Defendant’s Digital Platform, but rather enables individuals with visual

disabilities to access the Digital Platform Defendant already provides. This will not place an undue

burden on Defendant.



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       67.     In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall

violate any of the provisions of sections forty, forty-a, forty-b or forty two … shall for each and

every violation thereof be liable to a penalty of not less than one hundred dollars nor more than

five hundred dollars, to be recovered by the person aggrieved thereby…”

       68.     Specifically, under NY Civ Rights Law § 40-d, “any person who shall violate any

of the provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31

of the penal law, or who shall aid or incite the violation of any of said provisions shall for each

and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby in any court of

competent jurisdiction in the county in which the defendant shall reside …”

       69.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       70.     As such, Defendant discriminates and will continue in the future to discriminate

against Plaintiff on the basis of disability. Because of Defendant’s actions in maintaining an

inaccessible Digital Platform, Plaintiff is being directly or indirectly refused, withheld from, or

denied the accommodations, advantages, facilities and privileges thereof in § 40, et seq. and/or its

implementing regulations.

       71.     Plaintiff is entitled to compensatory damages of five hundred dollars per instance,

as well as civil penalties and fines pursuant to N.Y. Civil Law § 40 et seq. for each and every

offense.




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                    PRAYER FOR DECLARATORY JUDGMENT AND
                        PROSPECTIVE INJUNCTIVE RELIEF

         WHEREFORE, Plaintiff prays for:

         (A)   A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, N.Y. Exec. Law § 296, et seq., and the laws of New York,

in that Defendant took no action that was reasonably calculated to ensure that its Digital Platform

was fully accessible to, and independently usable by, individuals with visual disabilities;

         (B)   A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a), N.Y. Exec. Law § 296, et seq., and the laws of New York, which directs Defendant to

take all steps necessary to bring its Digital Platform into full compliance with the requirements set

forth in the ADA, and its implementing regulations, so that its Digital Platform is fully accessible

to, and independently usable by, blind individuals, and which further directs that the Court shall

retain jurisdiction for a period to be determined to ensure that Defendant has adopted and is

following an institutional policy that will in fact cause it to remain fully in compliance with the

law, including the specific prospective injunctive relief described more fully in paragraph 17

above.

         (C)   Payment of costs of suit;

         (D)   Compensatory damages in an amount to be determined by proof, including all

applicable statutory damages and fines, to Plaintiff for violations of her civil rights under New

York State Human Rights Law;

         (E)   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

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Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also Access

Now, Inc. v. LAX World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11) (same);

         (F)   Payment of nominal damages;

         (G)   The provision of whatever other relief the Court deems just, equitable and

appropriate; and

         (H)   An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders in regard to the specific prospective injunctive relief described at paragraph 17

above.

         Dated: May 10, 2023                         Respectfully Submitted,

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